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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

In re: David Shenolf Hannah, Chapter 13

CaseNo. \<; ~ \0 U\Ol'l
Debtor(s)

Trustee's Motion To Confirm Plan As Amended

Trustee moves that Debtor's(s') plan be continued The plan, as amended commits Debtor's(s') disposable income
to the plan for a period of at least thirty-six months and otherwise conforms to the requirements of Title ll. The
plan, as amended will pay $ or more to unsecured creditors, but in any event will pay
not less than % of the total allowed unsecured claims.

Debtor's(s') plan is amended to:
[]'Raise payments/extend plan as follows: § "yl (o L\ C\OG 60>
|:| Change valuation(s) as follows:

E]@Modify/Disallow claims as follows: /s~f 7L_/-~/C'/¢-J (0/"'-\ ~5_ aj F(Q `S-”"'"€
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Trustee certifies that none of the fore mg amendments require notice to creditors other than those whose
consent has been given. This \ day of c/\/\,D-A-E;)»- ,20 15

CCM/,QA
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Cortney R. E\am

,C‘\ x_' GA. Bar No. 143688
`Debtor

 

 

Debtor `
/Ma/, 44 04

Creditor’s Counsel / 66 F,`,,,é (.~

 

 

Creditor’s Counsel

Revi$ed 12/1/2017 Form 2017-4-A

